                            2:07-cr-20043-SLD # 92    Page 1 of 27
                                                                                            E-FILED
                                                              Monday, 24 January, 2022 09:05:42 AM
                                                                       Clerk, U.S. District Court, ILCD
                                                                                          APPEAL
                          U.S. District Court
                 CENTRAL DISTRICT OF ILLINOIS (Urbana)
           CRIMINAL DOCKET FOR CASE #: 2:07−cr−20043−SLD−1

Case title: USA v. Bryant                                   Date Filed: 04/04/2007

                                                            Date Terminated: 04/30/2010

Assigned to: Chief Judge Sara
Darrow

Defendant (1)
Freddell Bryant                         represented by Jon Gray Noll
TERMINATED: 04/30/2010                                 NOLL LAW OFFICE LLC
also known as                                          930 East Monroe Street
Fredell Bryant                                         Springfield, IL 62701
TERMINATED: 04/30/2010                                 217−544−8441
                                                       Fax: 217−544−8775
                                                       Email: noll@noll−law.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: CJA Appointment

                                                      Robert L Rascia
                                                      LAW OFFICES OF ROBERT LOUIS RASCIA,
                                                      LTD
                                                      Suite 700
                                                      650 N Dearborn
                                                      Chicago, IL 60654
                                                      312−994−9100
                                                      Email: rrascia@rasciadefense.com
                                                      TERMINATED: 01/17/2012
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

                                                      Thomas W Patton
                                                      FEDERAL PUBLIC DEFENDER
                                                      Suite 1500
                                                      401 Main St
                                                      Peoria, IL 61602
                                                      309−671−7891
                                                      Fax: 309−671−7898
                                                      Email: thomas_patton@fd.org
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED




                                                                                                    1
                            2:07-cr-20043-SLD # 92   Page 2 of 27




Pending Counts                                       Disposition
                                                     It is the judgment of the Court that defendant is
CONSPIRACY TO DISTRIBUTE
                                                     hereby committed to the custody of the Bureau of
NARCOTICS (From on or about
                                                     Prisons for a period of 300 months. Said term
October, 2003, and continuing
                                                     shall consist of 240 months on Counts 1 and 2, to
through at least March, 2007,
                                                     run concurrently to each other and 60 months on
defendant did knowingly conspire
                                                     Count 3, to be served consecutive to Counts 1
with others to possess with intent to
                                                     and 2. Upon release from custody, the defendant
distribute five hundred grams or more
                                                     shall serve a 10−year term of supervised release.
of cocaine and fifty grams or more of
                                                     Said term shall consist of 10 years on Count 1, 8
cocaine base ("crack") in violation of
                                                     years on Count 2 and 5 years on Count 3; all
Title 21 U.S.C. Sections 846,
                                                     counts to be served concurrently. It is further
841(a)(1) and 841(b)(1)(A) & (B),
                                                     ordered that the defendant shall pay a special
and Title 18 U.S.C. Section 2
                                                     assessment in the amount of $300, due
(1)
                                                     immediately
                                                     It is the judgment of the Court that defendant is
                                                     hereby committed to the custody of the Bureau of
                                                     Prisons for a period of 300 months. Said term
NARCOTICS − SELL,
                                                     shall consist of 240 months on Counts 1 and 2, to
DISTRIBUTE, OR DISPENSE (On
                                                     run concurrently to each other and 60 months on
or about July 12, 2004, defendant did
                                                     Count 3, to be served consecutive to Counts 1
knowingly possess five hundred
                                                     and 2. Upon release from custody, the defendant
grams or more of cocaine with intent
                                                     shall serve a 10−year term of supervised release.
to distribute, in violation of Title 21,
                                                     Said term shall consist of 10 years on Count 1, 8
U.S.C. Section 841(a)(1) &
                                                     years on Count 2 and 5 years on Count 3; all
(b)(1)(B)(ii)
                                                     counts to be served concurrently. It is further
(2)
                                                     ordered that the defendant shall pay a special
                                                     assessment in the amount of $300, due
                                                     immediately
                                                     It is the judgment of the Court that defendant is
VIOLENT                                              hereby committed to the custody of the Bureau of
CRIME/DRUGS/MACHINE GUN                              Prisons for a period of 300 months. Said term
(On or about October 17, 2003, July                  shall consist of 240 months on Counts 1 and 2, to
12, 2004, and July 25, 2005,                         run concurrently to each other and 60 months on
defendant did knowingly possess a                    Count 3, to be served consecutive to Counts 1
firearm in furtherance of the crime of               and 2. Upon release from custody, the defendant
conspiracy to distribute and to                      shall serve a 10−year term of supervised release.
possess with intent to distribute                    Said term shall consist of 10 years on Count 1, 8
cocaine and cocaine base ("crack") as                years on Count 2 and 5 years on Count 3; all
charged in Count 1, in violation of                  counts to be served concurrently. It is further
title 18 U.S.C. Section 924(c)                       ordered that the defendant shall pay a special
(3)                                                  assessment in the amount of $300, due
                                                     immediately
UNLAWFUL TRANSPORT OF                                Dismissed upon motion by the Government.
FIREARMS, ETC. (On or about July
25, 2005, defendant, having been
previously convicted of a crime
punishable by imprisonment for a
term exceeding one year, did


                                                                                                         2
                          2:07-cr-20043-SLD # 92           Page 3 of 27


knowingly possess a firearm, in
violation of Title 18 U.S.C. Section
922(g)(1)
(4)

Highest Offense Level (Opening)
Felony

Terminated Counts                                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                                 Disposition
None



Plaintiff
USA                                               represented by Crystal Connie Correa
                                                                 UNITED STATES ATTORNEY'S
                                                                 OFFICE
                                                                 318 S Sixth Street
                                                                 Springfield, IL 62701−1806
                                                                 217−492−4471
                                                                 Fax: 217−492−4044
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant US Attorney

                                                                 Eugene L Miller
                                                                 US ATTY
                                                                 201 South Vine
                                                                 Urbana, IL 61802
                                                                 217−373−5875
                                                                 Fax: 217−373−5891
                                                                 Email: eugene.miller@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed      #   Page Docket Text
 04/04/2007      1          INDICTMENT as to Freddell Bryant (1) Counts 1, 2, 3, and 4. (SP, ilcd)
                            (Entered: 04/04/2007)


                                                                                                      3
                 2:07-cr-20043-SLD # 92            Page 4 of 27



04/04/2007   2    +++ SEALED DOCUMENT. (Unredacted Indictment) (SP, ilcd) (Entered:
                  04/04/2007)
05/21/2007        Arrest of Freddell Bryant in Northern District of Illinois. (SP, ilcd) (Entered:
                  06/15/2007)
06/15/2007   4    Rule 5(c)(3) Documents Received from Northern District of Illinois as to
                  Freddell Bryant. (Attachments: #(1) NDIL Docket Sheet, #(2) NDIL Affidavit
                  of Complaint Removal Proceedings, #(3) NDIL 5/21/07 Minutes, #(4) NDIL
                  Attorney Appearance, #(5) NDIL 5/24/2007 Minutes)(SP, ilcd) (Entered:
                  06/15/2007)
06/19/2007        TEXT ORDER entered by Judge David G. Bernthal on 6/19/2007 as to Freddell
                  Bryant. An Initial Appearance is set for 6/22/2007 at 10:30 AM in Courtroom C
                  before Magistrate Judge David G. Bernthal. (SP, ilcd) (Entered: 06/19/2007)
06/22/2007        ORAL MOTION to Unseal Case by USA at hearing held 6/22/2007 as to
                  Freddell Bryant. (SP, ilcd) (Entered: 06/22/2007)
06/22/2007        TEXT ORDER entered by Judge David G. Bernthal at hearing held on
                  6/22/2007 granting Government's Oral Motion to Unseal Case as to Freddell
                  Bryant (1). (SP, ilcd) (Entered: 06/22/2007)
06/22/2007        ORAL MOTION to Continue by Freddell Bryant. (SP, ilcd) (Entered:
                  06/22/2007)
06/22/2007        ORAL MOTION for Detention by USA as to Freddell Bryant. (SP, ilcd)
                  (Entered: 06/22/2007)
06/22/2007        Minute Entry for proceedings held on 6/22/2007 before Judge David G. Bernthal
                  : Appearance for the Government by AUSA Eugene Miller. Defendant
                  FREDDELL BRYANT appeared in person. Cause called for Initial Appearance.
                  Defendant advised of rights, including right to counsel. Defendant advises the
                  Court he will retain Attorney Kevin Bolger and does not seek court−appointed
                  counsel. Oral motion by the Government for Detention. Oral motion by the
                  defendant to continue Arraignment and Detention hearings so that counsel may
                  be present. Oral Motion to Continue as to Freddell Bryant (1) is GRANTED.
                  Arraignment and Detention Hearings set for 6/27/2007 at 4:00 PM in Courtroom
                  C before Magistrate Judge David G. Bernthal. Order of temporary detention to
                  be entered. Defendant is remanded to the custody of the U S Marshal. Oral
                  motion by the Government to unseal case; granted. Case is ordered
                  unsealed.(Tape #UR−C 10:35 AM) (SP, ilcd) (Entered: 06/22/2007)
06/22/2007   5    ORDER OF TEMPORARY DETENTION entered by Judge David G. Bernthal
                  on 6/22/2007 as to Freddell Bryant. (SP, ilcd) (Entered: 06/22/2007)
06/27/2007   6    NOTICE OF ATTORNEY APPEARANCE: Robert L Rascia appearing for
                  Freddell Bryant (Rascia, Robert) (Entered: 06/27/2007)
06/27/2007        ORAL MOTION to Continue arraignment/detention hearing by Freddell Bryant.
                  (KM, ilcd) (Entered: 06/27/2007)
06/27/2007        Minute Entry for proceedings held 6/27/07 before Judge David G. Bernthal.
                  Appearance for Government by AUSA Eugene Miller. Defendant FREDDELL
                  BRYANT present in person with counsel Robert Rascia present via telephone.
                  Hearing held regarding defendant's oral motion to continue hearing as to


                                                                                                     4
                 2:07-cr-20043-SLD # 92            Page 5 of 27



                  Freddell Bryant (1). No objection by Government or by defendant Bryant to
                  continuance. Arraignment/Detention hearing reset to 6/28/2007 at 2:30 PM in
                  Courtroom C before Magistrate Judge David G. Bernthal. The Court finds by
                  granting the continuance, the ends of justice are met pursuant to 18 USC
                  3161(h)(8)(A). Defendant is remanded to custody of US Marshal. (Tape #UR−B
                  2:55 PM.) (KM, ilcd) (Entered: 06/27/2007)
06/28/2007        Minute Entry for proceedings held on 6/28/2007 before Judge David G. Bernthal
                  : Appearance for the Government by AUSA Eugene Miller. Defendant
                  FREDDELL BRYANT appeared in person with counsel, Atty Robert Rascia.
                  Arraignment as to Freddell Bryant (1) Counts 1−4 held. Defendant sworn and
                  questioned by the Court. Defendant advised of charges and possible penalties.
                  Defendant enters a plea of not guilty to all charges of the Indictment. Scheduling
                  order entered. Cause called for Detention Hearing as to Freddell Bryant.
                  Defendant waives detention hearing. The Court finds the waiver knowing and
                  voluntary and orders the defendant detained pending trial. Written order to be
                  entered. Defendant is remanded to the custody of the U S Marshal. (Tape
                  #UR−B 2:33 PM) (SP, ilcd) (Entered: 06/28/2007)
06/28/2007   7    SCHEDULING ORDER entered by Judge David G. Bernthal on 6/28/2007 as to
                  Freddell Bryant. Pretrial Conference set for 8/1/2007 at 9:15 AM in Courtroom
                  A before Chief Judge Michael P. McCuskey. Jury Selection and Jury Trial set
                  for 8/27/2007 at 9:00 AM in Courtroom A before Chief Judge Michael P.
                  McCuskey. (SP, ilcd) Modified on 8/1/2007 to correct jury trial date (KM, ilcd).
                  (Entered: 06/28/2007)
07/02/2007   8    ORDER OF DETENTION entered by Magistrate Judge David G. Bernthal on
                  7/2/2007 as to Freddell Bryant. (SP, ilcd) (Entered: 07/02/2007)
08/01/2007        Minute Entry for proceedings held 8/1/07 before Chief Judge Michael P.
                  McCuskey. Appearance for Government by AUSA Eugene Miller. Defendant
                  FREDDELL BRYANT present in person and with counsel Robert Rascia via
                  telephone. Status Conference held. Oral motion by defendant for continuance;
                  no objection by Government. Oral motion granted. Pretrial hearing set for today
                  is vacated; jury selection set for 8/27/07 is vacated. Status Conference is set for
                  9/5/2007 at 1:00 PM in Courtroom A before Chief Judge Michael P. McCuskey.
                  The Court finds by granting the continuance, the ends of justice are met pursuant
                  to 18 USC 3161(h)(8)(A). The time from today to 9/5/07 is excluded. Defendant
                  is remanded to custody of US Marshal. (Court Reporter LC.) (KM, ilcd)
                  (Entered: 08/01/2007)
08/22/2007   9    Arrest Warrant Returned Executed on 6/20/2007 as to Freddell Bryant. (SP, ilcd)
                  (Entered: 08/22/2007)
09/05/2007        Minute Entry for proceedings held on 9/5/2007 before Chief Judge Michael P.
                  McCuskey: Appearance for the Government by AUSA Eugene Miller.
                  Defendant FREDDELL BRYANT appeared in person with counsel, Robert
                  Rascia. Status Conference as to Freddell Bryant held. Status discussed.
                  Defendant waived his right to a speedy trial. Matter set for Change of
                  Plea/Status Hearing on 10/18/2007 at 1:15 PM in Courtroom A before Chief
                  Judge Michael P. McCuskey. The Court finds the ends of justice are met
                  pursuant to Title 18 U.S.C. Section 3161(h)(8)(A). Time is excluded from
                  9/5/2007 to 10/18/2007. Defendant is remanded to the custody of the U S
                  Marshal. (Court Reporter LC) (SP, ilcd) (Entered: 09/05/2007)

                                                                                                        5
                  2:07-cr-20043-SLD # 92           Page 6 of 27



10/18/2007         Minute Entry for proceedings held on 10/18/2007 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared in person with counsel, Olivia
                   Hubel on behalf of Robert Rascia. Status Conference as to Freddell Bryant held.
                   Oral motion to continue by defendant. No objection by the Government; oral
                   motion granted. Status Conference set for 11/15/2007 at 2:30 PM in Courtroom
                   A before Chief Judge Michael P. McCuskey. The Court finds the ends of justice
                   are met pursuant to Title 18 U.S.C. Section 3161(h)(8)(A). Time is excluded
                   from 10/18/2007 to 11/15/2007. Defendant is remanded to the custody of the U
                   S Marshal. (Court Reporter LC) (SP, ilcd) (Entered: 10/18/2007)
11/13/2007   10    MOTION by US Probation to Modify Conditions of Release as to Freddell
                   Bryant. (SKD, ilcd) Modified on 11/13/2007 to vacate document pursuant to
                   11/13/07 text order as it is filed in wrong case (SKD, ilcd). (Entered:
                   11/13/2007)
11/13/2007         TEXT ORDER Entered by Chief Judge Michael P. McCuskey granting 10
                   Motion to Modify Conditions of Release as to Freddell Bryant (1) (Shown on
                   page 2 of #10 motion). (SKD, ilcd) Modified on 11/13/2007 to show order is
                   VACATED as it is filed in wrong case (SKD, ilcd). (Entered: 11/13/2007)
11/13/2007   11    NOTICE of Waiver of Hearing by US Probation as to Freddell Bryant re 10
                   MOTION to Modify Conditions of Release (SKD, ilcd) Modified on 11/13/2007
                   to show document is vacated pursuant to 11/13/07 text order as it is filed in the
                   wrong case (SKD, ilcd). (Entered: 11/13/2007)
11/13/2007         TEXT ORDER as to Freddell Bryant Entered by Chief Judge Michael P.
                   McCuskey. Motion (#10), Notice (#11) and Text order entered 11/13/07 are
                   vacated as they are filed in the wrong case. (SKD, ilcd) (Entered: 11/13/2007)
11/15/2007         Minute Entry for proceedings held on 11/15/2007 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared in person with counsel, Robert
                   Rascia. Status Conference as to Freddell Bryant held. Oral motion by defendant
                   for psychological evaluation. No objection by the Government; oral motion
                   granted. The Court directs that the defendant be transported to U S Medical
                   Facility in Missouri for a sanity and competency evaluation. Matter set for
                   Status Conference on 2/1/2008 at 1:15 PM by telephone before Chief Judge
                   Michael P. McCuskey. The Court will initiate the call. The Court finds the ends
                   of justice are met pursuant to 18 U.S.C. 3161(h)(8)(A). Time is excluded from
                   11/15/2007 to 2/1/2008. Defendant is remanded to the custody of the U S
                   Marshal. (Court Reporter LC) (SP, ilcd) (Entered: 11/16/2007)
11/15/2007         ORAL MOTION for Psychiatric Exam by Freddell Bryant at hearing held
                   11/15/2007. (SP, ilcd) (Entered: 11/16/2007)
11/16/2007   12    ORDER FOR PSYCHIATRIC OR PSYCHOLOGICAL EXAMINATION
                   entered by Chief Judge Michael P. McCuskey on 11/16/2007. Defendant's Oral
                   Motion for Psychiatric Exam as to Freddell Bryant (1) is GRANTED. See
                   written order. (SP, ilcd) (Entered: 11/16/2007)
02/05/2008         NOTICE OF HEARING: Due to inclement weather, the courthouse was closed
                   on Friday, February 1, 2008. Therefore, the telephone status conference as to
                   Freddell Bryant set for 2/1/2008 at 1:15 PM is RESET to 2/12/2008 at 1:15 PM
                   by telephone (court will place call) before Chief Judge Michael P. McCuskey.

                                                                                                       6
                  2:07-cr-20043-SLD # 92           Page 7 of 27



                   The Court finds by continuing the matter, the ends of justice are met pursuant to
                   Title 18 U.S.C. 3161(h)(8)(A). Time is excluded from 11/15/2007 to 2/12/2008.
                   (MB, ilcd) (Entered: 02/05/2008)
02/12/2008         Minute Entry for proceedings held on 2/12/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Appearance for defendant FREDDELL BRYANT by counsel Attorney Robert
                   Rascia, by telephone. Defendant unable to appear at this time. Status Conference
                   as to Freddell Bryant held. Further Status Conference set for 3/3/2008 at 11:00
                   AM in Courtroom A before Chief Judge Michael P. McCuskey. If defendant has
                   returned from Missouri (MCC) he is to personally appear. Counsel for defendant
                   will appear by telephone. The Court finds in granting the continuance the ends
                   of justice are met pursuant to 18 USC 3161(h)(8)(A). Time is excluded from
                   today until 3/3/2008. (Court Reporter JH−Area Wide) (SP, ilcd) (Entered:
                   02/12/2008)
02/19/2008   13    +++ SEALED DOCUMENT. (SP, ilcd) (Entered: 02/19/2008)
02/20/2008         NOTICE OF HEARING: A competency hearing as to Freddell Bryant is set for
                   3/3/2008 at 11:00 AM in Courtroom A before Chief Judge Michael P.
                   McCuskey. (MB, ilcd) (Entered: 02/20/2008)
03/03/2008         Minute Entry for proceedings held 3/3/08 before Chief Judge Michael P.
                   McCuskey. Appearance of AUSA Eugene Miller for Government. Defendant
                   FREDDELL BRYANT appears in person, with his counsel, Robert Rascia,
                   appearing via telephone. Status/Competency Hearing as to Freddell Bryant held.
                   The original Forensic Report is filed in open court. Document 13 is a facsimile
                   of the original Forensic Report. Based on the Report, the Court finds that the
                   defendant is fully competent to assist counsel at trial. Defendant's Attorney
                   orally requests a continuance in order to speak with his client. Court suggests
                   that Attorney could contact Judge Bernthal for a plea date. Matter is set for a
                   Status/Change of Plea Hearing on 3/31/2008 at 4:00 PM in Courtroom A before
                   Chief Judge Michael P. McCuskey. The Court finds the ends of justice have
                   been met pursuant to 18 USC 3161(h)(8)(a). Time is excluded from 3/3/08 until
                   3/31/08. Defendant is remanded to the custody of the U S Marshal. (Court
                   Reporter L C.) (VB, ilcd) (Entered: 03/03/2008)
03/03/2008   14    +++ PSYCHIATRIC REPORT RECEIVED and filed in open court as to
                   Freddell Bryant. (VB, ilcd) (Entered: 03/03/2008)
03/31/2008         Minute Entry for proceedings held on 3/31/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared in person with counsel, Robert
                   Rascia. Status Conference as to Freddell Bryant held. Attorney Rascia advises
                   the Court that the defendant would like a second opinion and requests to speak
                   to another attorney. Matter set for Telephone Status Conference on 4/4/2008 at
                   3:15 PM before Chief Judge Michael P. McCuskey. The Court will initiate the
                   call. The defendant will be called at DeWitt. The Court finds the ends of justice
                   are met pursuant to 18 USC 3161(h)(8)(A). Time is excluded from 3/31/2008 to
                   4/4/2008. Defendant is remanded to the custody of the U S Marshal. (Court
                   Reporter LC) (SP, ilcd) (Entered: 04/01/2008)
04/04/2008         Minute Entry for proceedings held on 4/4/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.


                                                                                                       7
                  2:07-cr-20043-SLD # 92           Page 8 of 27



                   Defendant FREDDELL BRYANT appeared by telephone with counsel, Robert
                   Rascia, by telephone. Status Conference as to Freddell Bryant held. Defendant is
                   contacting another attorney for a second opinion. Matter set for further Status
                   Conference on 4/30/2008 at 1:15 PM by telephone before Chief Judge Michael
                   P. McCuskey. The Court will initiate the call. The Court finds the ends of justice
                   are met pursuant to 18 USC 3161(h)(8)(A). Time is excluded from 4/4/2008 to
                   4/30/2008. (Court Reporter HW) (SP, ilcd) (Entered: 04/07/2008)
04/30/2008         Minute Entry for proceedings held 4/30/08 before Chief Judge Michael P.
                   McCuskey. Appearance of AUSA Eugene Miller for Government. Appearance
                   of FREDDELL BRYANT and attorney Robert Rascia. Telephone Status
                   Conference held. Matter set for further Status Conference on 5/5/2008 at 3:00
                   PM by telephone (court will place call) before Chief Judge Michael P.
                   McCuskey. The Court finds the ends of justice have pursuant to 18 USC 3161
                   (h)(8)(A). Time from 4/30/08 until 5/5/08 is excluded. (Court Reporter HW.)
                   (SKD, ilcd) (Entered: 04/30/2008)
05/05/2008         Minute Entry for proceedings held on 5/5/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared with counsel, Robert Rascia.
                   Telephone Status Conference held. Defendant is allowed until 5/27/2008 to file
                   a motion. Government's response due by 6/17/2008. Matter set for Telephone
                   Status Conference on 6/20/2008 at 1:15 PM before Chief Judge Michael P.
                   McCuskey. The Court will initiate the call. The Court finds the ends of justice
                   are met pursuant to 18 U.S.C. 3161(h)(8)(A). Time is excluded from today until
                   6/20/2008. (Court Reporter LC) (SP, ilcd) (Entered: 05/05/2008)
05/27/2008   15    MOTION to Suppress by Freddell Bryant. (Rascia, Robert) (Entered:
                   05/27/2008)
06/17/2008   16    RESPONSE to Motion by USA as to Freddell Bryant re 15 MOTION to
                   Suppress Evidence (Miller, Eugene) (Entered: 06/17/2008)
06/20/2008         Minute Entry for proceedings held on 6/20/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared with counsel, Robert Rascia.
                   Telephone Status Conference held. Matter set for Motion Hearing on Motion to
                   Suppress 15 on 7/21/2008 at 1:15 PM in Courtroom A before Chief Judge
                   Michael P. McCuskey. The Government is to prepare a writ for Terrance Bryant
                   at Danville Correctional Center to appear in person as a witness. The Court finds
                   the ends of justice are served pursuant to 18 U.S.C. 3161(h)(8)(A). Time is
                   excluded from 6/20/2008 until 7/21/2008. U S Marshal is to transport defendant
                   Freddell Bryant for the hearing set on 7/21/2008. (Court Reporter LC) (SP, ilcd)
                   (Entered: 06/20/2008)
06/24/2008   17    PETITION for Writ of Habeas Corpus ad testificandum for Terrance D. Bryant
                   by USA as to Freddell Bryant. (Miller, Eugene) (Entered: 06/24/2008)
06/25/2008   18    ORDER granting 17 Motion for Writ of Habeas Corpus ad testificandum for
                   Terrance Bryant to appear and testify as to Freddell Bryant (1), entered by
                   Magistrate Judge David G. Bernthal on 6/25/2008. (SP, ilcd) (Entered:
                   06/25/2008)
06/25/2008   19    Writ of Habeas Corpus ad Testificandum Issued for Terrance Bryant (R60501)
                   for motion hearing set on 7/21/2008 at 1:15 p.m. in case as to Freddell Bryant.

                                                                                                        8
                  2:07-cr-20043-SLD # 92              Page 9 of 27



                   (SP, ilcd) (Entered: 06/25/2008)
07/21/2008         Minute Entry for proceedings held 7/21/08 before Chief Judge Michael P.
                   McCuskey. Appearance for Government by AUSA Eugene Miller. Defendant
                   FREDDELL BRYANT present in person with counsel Robert Rascia. Motion
                   Hearing as to Freddell Bryant held re 15 MOTION to Suppress filed by
                   defendant. On Court's own motion witnesses excluded from courtroom.
                   Evidence for Government. Witnesses sworn; testimony heard. Evidence for
                   defendant. Witness sworn; testimony heard. Parties rest. Status Conference set
                   for 8/21/2008 at 1:15 PM by telephone (court will place call) before Chief Judge
                   Michael P. McCuskey. The Court finds the ends of justice are served pursuant to
                   18 U.S.C. 3161(h)(8)(A). Time is excluded from 7/21/2008 to 8/21/08.
                   Defendant is remanded to custody of US Marshal. (Court Reporter LC.) (KM,
                   ilcd) (Entered: 07/22/2008)
07/21/2008   20    EXHIBIT LIST from Motion to Suppress (#15) hearing. (KM, ilcd) (Entered:
                   07/22/2008)
08/18/2008   21    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings re Motion
                   to Suppress as to Freddell Bryant held on 7/21/2008, before Chief Judge
                   Michael P. McCuskey. Court Reporter/Transcriber LC, Telephone number (217)
                   384−2290. Transcript purchased by: Robert Rascia.

                   IMPORTANT: The parties have seven (7) business days to file with the
                   Court a Notice of Intent to Request Redaction of this transcript. Within 21
                   days of the filing of the transcript, a Motion of Requested Redactions shall
                   be e−filed with the Court. Access to this motion will be restricted to the
                   Court and the attorneys of record in the case. If no such Notice and Motion
                   are filed, the transcript may be made remotely, electronically available to
                   the public, without redaction, 90 days from the date initially filed. Any
                   party needing a copy of the transcript to review for redaction purposes may
                   view the transcript at the Clerk's Office public terminal or contact the
                   Court Reporter for purchase. Counsel are strongly urged to share this
                   notice with all clients so that an informed decision about the inclusion of
                   certain materials may be made. The responsibility for redacting these
                   personal identifiers rests solely with counsel and the parties. The Clerk and
                   Court Reporter will not review each transcript for compliance with this
                   rule.

                   Transcript may be viewed at the court public terminal or purchased through the
                   Court Reporter/Transcriber before the deadline for Release of Transcript
                   Restriction. After that date it may be obtained through PACER. Redaction
                   Request due 9/8/2008. Redacted Transcript Deadline set for 9/18/2008. Release
                   of Transcript Restriction set for 11/17/2008. (SP, ilcd) (Entered: 08/18/2008)
08/21/2008         Minute Entry for proceedings held on 8/21/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared by telephone with counsel, Robert
                   Rascia, by telephone. Telephone Status Conference as to Freddell Bryant held.
                   Defendant's memorandum of law, findings of fact and conclusions of law from
                   evidentiary hearing held 7/21/2008 is to be filed by 9/12/2008. The Government
                   is to file a response to defendant's memorandum by 10/3/2008; reply due
                   10/10/2008. Further Telephone Status Conference set for 10/28/2008 at 1:15 PM


                                                                                                      9
                  2:07-cr-20043-SLD # 92          Page 10 of 27



                   before Chief Judge Michael P. McCuskey. The court will initiate the call. The
                   court finds the ends of justice are met pursuant to 18 USC 3161(h)(8)(A). Time
                   is excluded from today until 10/28/2008. (Court Reporter LC) (SP, ilcd)
                   (Entered: 08/21/2008)
09/12/2008   22    MEMORANDUM In Support of His Motion to Quash Arrest and Suppress
                   Evidence by Freddell Bryant re 15 MOTION to Suppress filed by Freddell
                   Bryant (Rascia, Robert) (Entered: 09/12/2008)
10/03/2008   23    Response by USA as to Freddell Bryant re 22 Memorandum (Miller, Eugene)
                   (Entered: 10/03/2008)
10/09/2008   24    REPLY TO RESPONSE to Motion by Freddell Bryant re 15 MOTION to
                   Suppress Evidence (Rascia, Robert) (Entered: 10/09/2008)
10/24/2008   25    OPINION entered by Chief Judge Michael P. McCuskey on 10/24/2008 as to
                   Freddell Bryant. Defendant's Motion to Suppress 15 is DENIED. This case
                   remains scheduled for a status conference on October 28, 2008 at 1:15 p.m. See
                   written order. (SP, ilcd) (Entered: 10/24/2008)
10/28/2008         Minute Entry for proceedings held on 10/28/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared with counsel, Robert Racia.
                   Telephone Status Conference as to Freddell Bryant held. Matter set for Status
                   Conference on 11/25/2008 at 2:30 PM by personal appearance in Courtroom A
                   before Chief Judge Michael P. McCuskey. The Court finds the ends of justice
                   are met pursuant to 18 USC 3161(h)(8)(A). Time is excluded from today until
                   11/25/2008. (Court Reporter LC) (SP, ilcd) (Entered: 10/28/2008)
11/25/2008         Minute Entry for proceedings held on 11/25/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT present in person with counsel, Robert
                   Rascia. Status Conference as to Freddell Bryant held. Oral motion by defendant
                   to continue hearing for a change of plea; no objection by the Government. Oral
                   motion granted. Matter set for Change of Plea Hearing on 12/15/2008 at 3:00
                   PM in Courtroom A before Chief Judge Michael P. McCuskey. The Court finds
                   the ends of justice are met pursuant to 18 USC 3161(h)(8)(A). Time is excluded
                   from 11/25/2008 until 12/15/2008. Defendant remanded to the custody of the U
                   S Marshal. (Court Reporter LC) (SP, ilcd) (Entered: 11/25/2008)
12/15/2008         Minute Entry for proceedings held on 12/15/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller in person.
                   Defendant FREDDELL BRYANT appeared by telephone with counsel, Robert
                   Rascia, by telephone. Status Conference as to Freddell Bryant held. Oral motion
                   by defendant to continue hearing. Oral motion granted. Matter set for Change of
                   Plea Hearing on 12/29/2008 at 2:00 PM in Courtroom A before Chief Judge
                   Michael P. McCuskey. The Court finds the ends of justice are met pursuant to
                   18 USC 3161(h)(8)(A). Time is excluded from 12/15/2008 until 12/29/2008. U
                   S Marshal is directed to transport defendant for hearing on 12/29/2008. (Court
                   Reporter LC) (SP, ilcd) Modified on 12/17/2008 to correct typographical error.
                   (SP, ilcd) (Entered: 12/15/2008)
12/17/2008         Notice of Docket Text or Event Modification re Minutes from proceedings held
                   on 12/15/2008. Clerk corrected typographical error in the date of the change of
                   plea hearing. Hearing remains set for 12/29/2008 at 2:00 PM. (SP, ilcd)

                                                                                                     10
                  2:07-cr-20043-SLD # 92          Page 11 of 27



                   (Entered: 12/17/2008)
12/18/2008         TEXT ORDER as to Freddell Bryant entered by Chief Judge Michael P.
                   McCuskey on 12/18/2008. Pursuant to hearing held on 12/15/2008, CHANGE
                   OF PLEA Hearing is set for 12/30/2008 at 2:00 PM by personal appearance in
                   Courtroom A before Chief Judge Michael P. McCuskey. (SP, ilcd) (Entered:
                   12/18/2008)
12/19/2008   26    MOTION Defendant Bryant's Emergency Motion for Supervised Jail Furlough
                   by Freddell Bryant. (Rascia, Robert) (Entered: 12/19/2008)
12/19/2008   27    NOTICE of Motion by Freddell Bryant re 26 MOTION Defendant Bryant's
                   Emergency Motion for Supervised Jail Furlough (Rascia, Robert) (Entered:
                   12/19/2008)
12/19/2008         Minute Entry for proceedings held 12/19/08 before Chief Judge Michael P.
                   McCuskey. Appearance of AUSA Eugene Miller for Government. Appearance
                   of FREDDELL BRYANT and counsel Robert Rascia via phone. Emergency
                   motion hearing held re: 26 Motion for Supervised Jail Furlough as to Freddell
                   Bryant (1). Motion granted. USMS to handle arrangements with defendant's
                   attorney. (Court Reporter LC.) (SKD, ilcd) (Entered: 12/19/2008)
12/30/2008         Minute Entry for proceedings held on 12/30/2008 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT present in person with counsel, Robert
                   Rascia. Change of Plea Hearing as to Freddell Bryant not held. Status
                   Conference held. Defendant requests a jury trial date and waives his right to a
                   speedy trial. Pretrial Conference set for 3/12/2009 at 3:00 PM in Courtroom A
                   before Chief Judge Michael P. McCuskey. Jury Selection and Jury Trial set for
                   3/25/2009 at 9:00 AM in Courtroom A before Chief Judge Michael P.
                   McCuskey. Motion filing deadline is 2/13/2009; responses due 2/26/2009. Voir
                   dire questions due by 2/27/2009; objections to voir dire due by 3/6/2009. The
                   Court finds the ends of justice are met pursuant to 18 USC 3161(h)(8)(A). Time
                   is excluded from 12/30/2008 until 3/25/2009. Attorney Rascia requests that the
                   defendant be transferred to Metropolitan Correctional Center (MCC) or
                   Kankakee County Jail during trial preparation. The Court makes the request of
                   the U S Marshal Service. Defendant remanded to the custody of the U S
                   Marshal. (Court Reporter LC) (SP, ilcd) (Entered: 12/30/2008)
01/14/2009   28    PETITION for Writ of Habeas Corpus ad testificandum for Terrance Bryant by
                   USA as to Freddell Bryant. (Miller, Eugene) (Entered: 01/14/2009)
01/15/2009   29    ORDER granting 28 Motion for Writ of Habeas Corpus ad testificandum as to
                   Freddell Bryant (1) entered by Magistrate Judge David G. Bernthal on
                   1/15/2009. (SP, ilcd) (Entered: 01/15/2009)
01/15/2009   30    Writ of Habeas Corpus ad Testificandum Issued as to Terrance D. Bryant,
                   R60501, Danville Correctional Center, for pretrial conference set on 3/12/2009
                   in case as to Freddell Bryant (SP, ilcd) (Entered: 01/15/2009)
02/13/2009   31    INFORMATION TO ESTABLISH PRIOR CONVICTION by USA as to
                   Freddell Bryant (Miller, Eugene) (Entered: 02/13/2009)
02/13/2009         NOTICE OF HEARING: Due to a conflict in the Court's schedule, the pretrial
                   conference as to Freddell Bryant is RESET from 3:00 PM to 4:00 PM on


                                                                                                     11
                  2:07-cr-20043-SLD # 92          Page 12 of 27



                   3/12/2009 in Courtroom A before Chief Judge Michael P. McCuskey. (MB,
                   ilcd) (Entered: 02/13/2009)
02/13/2009   32    MOTION for Extension of Time to File Motion in Limine by Freddell Bryant.
                   (Rascia, Robert) (Entered: 02/13/2009)
02/17/2009         TEXT ORDER granting 32 Motion for Extension of Time to File as to Freddell
                   Bryant (1). Defendant is allowed until 02/23/2009 to file his Motion in Limine.
                   Entered by Chief Judge Michael P. McCuskey on 02/17/2009. (DK2, ilcd)
                   (Entered: 02/17/2009)
02/23/2009   33    MOTION in Limine A by Freddell Bryant. (Rascia, Robert) (Entered:
                   02/23/2009)
02/23/2009   34    MOTION in Limine B by Freddell Bryant. (Rascia, Robert) (Entered:
                   02/23/2009)
02/23/2009   35    MOTION Defendant Bryant's Motion for Pretrial Hearing Concerning
                   Coconspirator (Co−Schemer) Statements by Freddell Bryant. (Rascia, Robert)
                   (Entered: 02/23/2009)
02/25/2009   36    PETITION for Writ of Habeas Corpus ad testificandum for Machon Anderson
                   by USA as to Freddell Bryant. (Miller, Eugene) (Entered: 02/25/2009)
02/25/2009   37    PETITION for Writ of Habeas Corpus ad testificandum for Jerome Harris by
                   USA as to Freddell Bryant. (Miller, Eugene) (Entered: 02/25/2009)
02/26/2009   38    ORDER granting 36 Motion for Writ of Habeas Corpus ad testificandum
                   (Anderson) in case as to Freddell Bryant (1) entered by Magistrate Judge David
                   G. Bernthal on 2/26/2009. (SP, ilcd) (Entered: 02/26/2009)
02/26/2009   39    Writ of Habeas Corpus ad Testificandum Issued as to Machon Anderson for
                   March 12, 2009 at 9:00 a.m. in case as to Freddell Bryant (SP, ilcd) (Entered:
                   02/26/2009)
02/26/2009   40    ORDER granting 37 Motion for Writ of Habeas Corpus ad testificandum
                   (Harris) in case as to Freddell Bryant (1) entered by Magistrate Judge David G.
                   Bernthal on 2/26/2009. (SP, ilcd) (Entered: 02/26/2009)
02/26/2009   41    Writ of Habeas Corpus ad Testificandum Issued as to Jerome Harris for March
                   12, 2009 at 9:00 a.m. in case as to Freddell Bryant (SP, ilcd) (Entered:
                   02/26/2009)
02/27/2009   42    MOTION for Extension of Time to File Response/Reply as to 33 MOTION in
                   Limine A, 34 MOTION in Limine B, 35 MOTION Defendant Bryant's Motion
                   for Pretrial Hearing Concerning Coconspirator (Co−Schemer) Statements by
                   USA as to Freddell Bryant. (Miller, Eugene) (Entered: 02/27/2009)
02/27/2009         TEXT ORDER granting 42 Motion for Extension of Time to File Response. The
                   Government is allowed until 03/04/2009 to file its Responses to the Motions [33,
                   34, 35] filed by Defendant, Freddell Bryant (1). Entered by Chief Judge Michael
                   P. McCuskey on 02/27/2009. (DK2, ilcd) (Entered: 02/27/2009)
02/28/2009   43    Proposed Voir Dire by Freddell Bryant (Rascia, Robert) (Entered: 02/28/2009)
03/04/2009   44    PETITION for Writ of Habeas Corpus ad testificandum for William Triplett by
                   USA as to Freddell Bryant. (Miller, Eugene) (Entered: 03/04/2009)


                                                                                                      12
                  2:07-cr-20043-SLD # 92           Page 13 of 27



03/04/2009   45    ORDER granting 44 Motion for Writ of Habeas Corpus ad testificandum for
                   William Triplett in case as to Freddell Bryant (1) entered by Magistrate Judge
                   David G. Bernthal on 3/4/2009. (SP, ilcd) (Entered: 03/04/2009)
03/04/2009   46    Writ of Habeas Corpus ad Testificandum Issued as to William Triplett for
                   March 12, 2009, at 9:00 a.m. in case as to Freddell Bryant (SP, ilcd) (Entered:
                   03/04/2009)
03/04/2009   47    RESPONSE to Motion by USA as to Freddell Bryant re 33 MOTION in Limine
                   A (Miller, Eugene) (Entered: 03/04/2009)
03/04/2009   48    RESPONSE to Motion by USA as to Freddell Bryant re 34 MOTION in Limine
                   B (Miller, Eugene) (Entered: 03/04/2009)
03/04/2009   49    RESPONSE to Motion by USA as to Freddell Bryant re 35 MOTION Defendant
                   Bryant's Motion for Pretrial Hearing Concerning Coconspirator (Co−Schemer)
                   Statements (Miller, Eugene) (Entered: 03/04/2009)
03/05/2009   50    PETITION for Writ of Habeas Corpus ad testificandum for Shayne Savage by
                   USA as to Freddell Bryant. (Miller, Eugene) (Entered: 03/05/2009)
03/05/2009   51    ORDER granting 50 Motion for Writ of Habeas Corpus ad testificandum for
                   Shayne Savage in case as to Freddell Bryant (1) entered by Magistrate Judge
                   David G. Bernthal on 3/5/2009. (SP, ilcd) (Entered: 03/05/2009)
03/05/2009   52    Writ of Habeas Corpus ad Testificandum Issued as to Shayne Savage for March
                   12, 2009, at 9:00 a.m. in case as to Freddell Bryant (SP, ilcd) (Entered:
                   03/05/2009)
03/09/2009   53    OPINION entered by Chief Judge Michael P. McCuskey on 3/9/09 as to
                   Freddell Bryant (1). It is ordered that defendant's 33 Motion in Limine (A) is
                   DENIED; defendant's 34 Motion in Limine (B) is GRANTED; defendant's 35
                   Motion for Pretrial Hearing Concerning Coconspirator Statements is DENIED;
                   case remains set for pretrial conference on 3/12/09 at 4:00 PM and jury trial on
                   3/25/09. See written Opinion. (KM, ilcd) (Entered: 03/09/2009)
03/12/2009   54    EXHIBIT LIST by USA as to Freddell Bryant (Miller, Eugene) (Entered:
                   03/12/2009)
03/12/2009   56    STATEMENT OF THE CASE by USA as to Freddell Bryant. (Miller, Eugene)
                   (Entered: 03/12/2009)
03/12/2009   57    Proposed Jury Instructions by USA as to Freddell Bryant (Miller, Eugene)
                   (Entered: 03/12/2009)
03/12/2009         Minute Entry for proceedings held on 3/12/2009 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT present in person with counsel, Robert
                   Rascia. Pretrial Conference as to Freddell Bryant held. Deadline for defendant to
                   file witness list and exhibit list is 3/18/2009. Defendant's objections to the
                   Government's witness list, exhibit list, jury instructions and statement of the case
                   are due by 3/19/2009. Defendant has until 3/26/2009 to file additional or
                   alternate jury instructions. The Government has until 3/23/2009 to file a
                   Santiago proffer. Case remains set for jury selection and jury trial to begin
                   3/25/2009 at 9:00 a.m. before Chief Judge Michael P. McCuskey. Defendant is
                   remanded to the custody of the U S Marshal. (Court Reporter LC) (SP, ilcd)


                                                                                                          13
                  2:07-cr-20043-SLD # 92           Page 14 of 27



                   (Entered: 03/13/2009)
03/23/2009   59    Writ of Habeas Corpus ad Testificandum for Jerome Harris Returned
                   Unexecuted in case as to Freddell Bryant (SP, ilcd) (Entered: 03/23/2009)
03/23/2009   60    Writ of Habeas Corpus ad Testificandum Returned Executed for Terrance
                   Bryant on 3/12/2009 in case as to Freddell Bryant (SP, ilcd) (Entered:
                   03/23/2009)
03/23/2009   61    Writ of Habeas Corpus ad Testificandum Returned Executed for Machon
                   Anderson on 3/12/2009 in case as to Freddell Bryant (SP, ilcd) (Entered:
                   03/23/2009)
03/24/2009         Minute Entry for proceedings held on 3/24/2009 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT present in person with counsel, Robert
                   Rascia. Change of Plea Hearing as to Freddell Bryant held. Defendant sworn
                   and questioned by the Court. Defendant advised of rights, charges and possible
                   penalties. Written plea agreement filed. Plea entered by Freddell Bryant (1)
                   Guilty Counts 1, 2, and 3. Count 4 to be dismissed at sentencing. The Court
                   accepts the plea as knowing and voluntary and finds the defendant guilty as
                   charged. Cause is referred to U. S. Probation for presentence investigation.
                   Matter set for Status Conference on 6/24/2009 at 4:00 PM by telephone from
                   Urbana (court will place call) before Chief Judge Michael P. McCuskey.
                   Defendant to be present by telephone on 6/24/2009. Defendant is remanded to
                   the custody of the U S Marshal. (Court Reporter JS − Area Wide) (SP, ilcd)
                   (Entered: 03/24/2009)
03/24/2009   62    PLEA AGREEMENT as to Freddell Bryant (SP, ilcd) (Entered: 03/24/2009)
03/24/2009   63    +++ SEALED DOCUMENT − PLEA AGREEMENT − ORIGINAL
                   SIGNATURES. (SP, ilcd) (Entered: 03/24/2009)
03/25/2009   64    ORDER on Implementation of Sentencing Guidelines as to Freddell Bryant
                   entered by Chief Judge Michael P. McCuskey on 3/25/2009. (SP, ilcd) (Entered:
                   03/25/2009)
04/20/2009   65    Writ of Habeas Corpus ad Testificandum for Shayne Savage Returned
                   Unexecuted in case as to Freddell Bryant (SP, ilcd) (Entered: 04/20/2009)
06/24/2009         Minute Entry for proceedings held on 6/24/2009 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT and counsel, Robert Rascia, appeared by
                   telephone. Status Conference as to Freddell Bryant held. Amended presentence
                   report mailed to parties on 6/11/2009; no objections at this time. Sentencing set
                   for 9/28/2009 at 1:30 PM by personal appearance in Courtroom A in Urbana
                   before Chief Judge Michael P. McCuskey. Defendant's objections to the
                   presentence report due by 8/31/2009. (Court Reporter LC) (SP, ilcd) (Entered:
                   06/24/2009)
08/31/2009   66    OBJECTION to the Presentence Investigation Report by Freddell Bryant
                   (Rascia, Robert) (Entered: 08/31/2009)
09/28/2009   67    MOTION to Continue Sentencing Hearing by Freddell Bryant. (Rascia, Robert)
                   (Entered: 09/28/2009)


                                                                                                       14
             2:07-cr-20043-SLD # 92          Page 15 of 27



09/28/2009    Minute Entry for proceedings held on 9/28/2009 before Chief Judge Michael P.
              McCuskey: Appearance for the Government by AUSA Eugene Miller.
              Defendant FREDDELL BRYANT appeared in person with counsel, Robert
              Rascia. Status of case, including objections to presentence report, discussed.
              Motion to Continue 67 heard; no objections. Motion granted. Matter set for
              Telephone Status Conference on 10/30/2009 at 1:15 PM from Urbana before
              Chief Judge Michael P. McCuskey. The Court will place the call. The Court
              stays the Government's response to the objections to the presentence report and
              amendment of the presentence report. Defendant is remanded to the custody of
              the U S Marshal. (Court Reporter LC) (SP, ilcd) (Entered: 09/28/2009)
10/30/2009    Minute Entry for proceedings held on 10/30/2009 before Chief Judge Michael P.
              McCuskey: Appearance for the Government by AUSA Eugene Miller.
              Defendant FREDDELL BRYANT appeared with counsel, Robert Rascia.
              Telephone Status Conference held. Matter set for further status conference on
              11/13/2009 at 11:30 AM by telephone from Urbana before Chief Judge Michael
              P. McCuskey. The Court will initiate the call. (Court Reporter LC) (SP, ilcd)
              (Entered: 10/30/2009)
11/13/2009    Minute Entry for proceedings held 11/13/09 before Chief Judge Michael P.
              McCuskey. Appearance of AUSA Eugene Miller in person for Government.
              Appearance of FREDDELL BRYANT and atty Robert Rascia via phone. Status
              Conference held. Status discussed. Sentencing set for 1/19/2010 at 3:00 PM in
              Courtroom A by personal appearance in Urbana before Chief Judge Michael P.
              McCuskey. Defendant to be transported for the hearing. (Court Reporter LC.)
              (SKD, ilcd) (Entered: 11/13/2009)
01/19/2010    Minute Entry for proceedings held on 1/19/2010 before Chief Judge Michael P.
              McCuskey: Appearance for the Government by AUSA Eugene Miller.
              Defendant FREDDELL BRYANT present in court with counsel, Robert Rascia,
              by telephone. Cause called for sentencing hearing. Parties acknowledge receipt
              of presentence report. Oral motion to continue by the Government; no objection
              by defendant. Oral motion granted. Status Conference is set for 1/21/2010 at
              1:15 PM by telephone from Urbana before Chief Judge Michael P. McCuskey
              (court will place call). Defendant to appear by telephone. Defendant is remanded
              to the custody of the U S Marshal. (Court Reporter LC) (SP, ilcd) (Entered:
              01/19/2010)
01/21/2010    Minute Entry for proceedings held on 1/21/2010 before Chief Judge Michael P.
              McCuskey: Appearance for the Government by AUSA Eugene Miller.
              Defendant FREDDELL BRYANT appeared by telephone with counsel, Robert
              Rascia, also by telephone. Status Conference held. Status discussed. Sentencing
              is set for 3/1/2010 at 1:30 PM, by personal appearance in Courtroom A in
              Urbana before Chief Judge Michael P. McCuskey. (Court Reporter LC) (SP,
              ilcd) (Entered: 01/21/2010)
03/01/2010    Minute Entry for proceedings held on 3/1/2010 before Chief Judge Michael P.
              McCuskey: Appearance for the Government by AUSA Eugene Miller.
              Defendant FREDDELL BRYANT and counsel, Robert Rascia, appeared by
              telephone. Matter called for sentencing, not held. Status Conference held. Oral
              motion to continue by the Government; granted. Sentencing set for 4/29/2010 at
              2:30 PM in Courtroom A in Urbana before Chief Judge Michael P. McCuskey.
              Defendant is to file commentary under seal by 3/26/2010. Government is to file


                                                                                                 15
                  2:07-cr-20043-SLD # 92          Page 16 of 27



                   a response or commentary by 4/16/2010. (Court Reporter LC) (SP, ilcd)
                   (Entered: 03/01/2010)
04/27/2010   68    POSITION by Freddell Bryant regarding Sentencing. (Rascia, Robert) (Entered:
                   04/27/2010)
04/29/2010         Minute Entry for proceedings held on 4/29/2010 before Chief Judge Michael P.
                   McCuskey: Appearance for the Government by AUSA Eugene Miller.
                   Defendant FREDDELL BRYANT appeared with counsel, Robert Rascia.
                   Sentencing continued from 1/19/2010 for Freddell Bryant (1), Counts 1, 2, 3 and
                   4. In camera hearing held. Motion for downward departure by the Government;
                   granted. Recommendations by counsel heard. Written statement in allocution
                   read by counsel for defendant and marked as an exhibit. It is the judgment of the
                   Court that defendant is hereby committed to the custody of the Bureau of
                   Prisons for a period of 300 months. Said term shall consist of 240 months on
                   Counts 1 and 2, to run concurrently to each other and 60 months on Count 3, to
                   be served consecutive to Counts 1 and 2. Count 4 is dismissed upon motion by
                   the Government. Upon release from custody, the defendant shall serve a 10−year
                   term of supervised release. Said term shall consist of 10 years on Count 1, 8
                   years on Count 2 and 5 years on Count 3; all counts to be served concurrently. It
                   is further ordered that the defendant shall pay a special assessment in the amount
                   of $300, due immediately. Appeal rights waived; court finds waiver knowing
                   and voluntary. Defendant is remanded to the custody of the U S Marshal, with
                   credit for time served. (Court Reporter LC) (SP, ilcd) (Entered: 04/30/2010)
04/29/2010   69    EXHIBIT LIST from sentencing hearing by Freddell Bryant (SP, ilcd) (Entered:
                   04/30/2010)
04/29/2010   70    +++ PRESENTENCE INVESTIGATION REPORT as to Freddell Bryant
                   (SP, ilcd) (Entered: 04/30/2010)
04/29/2010   71    +++ SENTENCING RECOMMENDATION as to Freddell Bryant. (SP, ilcd)
                   (Entered: 04/30/2010)
04/30/2010   72    JUDGMENT as to Freddell Bryant (1), entered by Chief Judge Michael P.
                   McCuskey on 4/30/2010. (SP, ilcd) (Entered: 04/30/2010)
04/30/2010   73    +++ SEALED DOCUMENT − ORIGINAL DOCUMENT Judgment
                   UNREDACTED (SP, ilcd) (Entered: 04/30/2010)
04/30/2010   74    +++ STATEMENT OF REASONS FOR IMPOSING SENTENCE as to
                   Freddell Bryant (SP, ilcd) (Entered: 04/30/2010)
02/16/2011   75    Letter from Clerk, to Counsel of Record, regarding returning Defendant's exhibit
                   1 from the Sentencing Hearing held on April 29, 2010. If the Clerk has not heard
                   from Counsel by 3/3/11, the Defendant's exhibit will be shredded or destroyed
                   by the Clerk. (VB, ilcd) (Entered: 02/16/2011)
03/03/2011         Remark: Due to the Defendant's Attorney not responding to 75 Letter regarding
                   returning Defendant's exhibits, the Clerk shredded Defendant's exhibit 1 from
                   the Sentencing Hearing held on 4/29/10 on this date. (VB, ilcd) (Entered:
                   03/03/2011)
11/10/2011   76    +++ SEALED −− TRANSCRIPT (Sentencing on 4/29/10) as to Freddell
                   Bryant before Judge Michael P. McCuskey. Court Reporter: Lisa Cosimini.
                   (SKD, ilcd) (Entered: 11/10/2011)

                                                                                                        16
                  2:07-cr-20043-SLD # 92           Page 17 of 27



11/10/2011   77    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Sentencing Proceedings
                   as to Freddell Bryant held on 4/29/10, before Judge Michael P. McCuskey.
                   Court Reporter/Transcriber Lisa Cosimini, Telephone number 217−384−2290.
                   Transcript purchased by: outside party.

                   IMPORTANT: The parties have seven (7) business days to file with the
                   Court a Notice of Intent to Request Redaction of this transcript. Within 21
                   days of the filing of the transcript, a Motion of Requested Redactions shall
                   be e−filed with the Court. Access to this motion will be restricted to the
                   Court and the attorneys of record in the case. If no such Notice and Motion
                   are filed, the transcript may be made remotely, electronically available to
                   the public, without redaction, 90 days from the date initially filed. Any
                   party needing a copy of the transcript to review for redaction purposes may
                   view the transcript at the Clerk's Office public terminal or contact the
                   Court Reporter for purchase. Counsel are strongly urged to share this
                   notice with all clients so that an informed decision about the inclusion of
                   certain materials may be made. The responsibility for redacting these
                   personal identifiers rests solely with counsel and the parties. The Clerk and
                   Court Reporter will not review each transcript for compliance with this
                   rule.

                   Transcript may be viewed at the court public terminal or purchased through the
                   Court Reporter/Transcriber before the deadline for Release of Transcript
                   Restriction. After that date it may be obtained through PACER. Redaction
                   Request due 12/5/2011. Redacted Transcript Deadline set for 12/15/2011.
                   Release of Transcript Restriction set for 2/13/2012. (SKD, ilcd) (Entered:
                   11/10/2011)
01/17/2012   78    MOTION to Appoint Counsel as to filing a Motion Under 28 USC § 2255 filed
                   by Freddell Bryant. (DE, ilcd) (Entered: 01/17/2012)
01/17/2012         TEXT ORDER granting 78 Motion to Appoint Counsel as to Freddell Bryant
                   (1). Jon Gray Noll is appointed to determine whether a Motion under 28 U.S.C.
                   Section 2255 can be filed on behalf of Defendant, Freddell Bryant. Entered by
                   Chief Judge Michael P. McCuskey on 1/17/2012. (DK2, ilcd) (Entered:
                   01/17/2012)
01/18/2012   79    Letter to Freddell Bryant from Judge McCuskey. Copy of letter mailed to
                   Freddell Bryant at Macon County Jail, 333 S Franklin, Decatur, IL 62523. (DE,
                   ilcd) (Entered: 01/18/2012)
05/27/2014   80    MOTION for Copies of Transcripts Free of Charge filed by Freddell Bryant.
                   (DS, ilcd) (Entered: 05/27/2014)
05/27/2014         TEXT ORDER granting 80 Motion for copies of sentencing transcript free of
                   charge as to Freddell Bryant (1). The clerk is directed to send Defendant Bryant
                   a copy of 76 sentencing transcript, which includes the in camera portion of the
                   sentencing. This court has allowed this request, but any further requests for free
                   transcripts will be carefully scrutinized. Entered by Judge Michael P. McCuskey
                   on 5/27/2014. (DK2, ilcd) (Entered: 05/27/2014)
06/19/2014   81    MOTION for copy of psychiatric evaluation report and copy of text order
                   appointing attorney Noll regarding 2255 motion by Freddell Bryant. (Clerk
                   mailed docket from 1/17/12 to Freddell Bryant.) (KM, ilcd) (Entered:

                                                                                                        17
                  2:07-cr-20043-SLD # 92           Page 18 of 27



                   06/20/2014)
07/10/2014         TEXT ORDER entered by Magistrate Judge David G. Bernthal on 7/10/2014.
                   On June 20, 2014, Freddell Bryant submitted a letter which has been docketed as
                   a motion. Mr. Bryant has requested a copy of his psychiatric evaluation report
                   and a copy of the order appointing Jon Gray Noll as his attorney.The motion 81
                   is GRANTED in part and DENIED in part. The Clerk of Court is directed to
                   send Mr. Bryant a copy of the text order appointing counsel. The request for a
                   copy of the psychiatric evaluation report is denied. Mr. Bryant should seek a
                   copy of that report from his attorney. (DS, ilcd) (Entered: 07/10/2014)
04/13/2020   82    MOTION for Leave to File Sealed Motion by Freddell Bryant. (Patton, Thomas)
                   (Entered: 04/13/2020)
04/13/2020   83    MOTION to Reduce Sentence pursuant to the First Step Act . (Patton, Thomas)
                   Modified on 7/6/2021 to unseal filing and rename on docket. See 7/6/2021 Text
                   Order(JRK). (Entered: 04/13/2020)
04/29/2020         TEXT ORDER REASSIGNING CASE Entered by Judge James E. Shadid on
                   4/29/20. Pursuant to Administrative Order 19−mc−1001 entered 1/10/2019, case
                   reassigned to Chief Judge Sara Darrow for all further proceedings. (ED, ilcd)
                   (Entered: 04/29/2020)
04/29/2020         Judge update in case as to Freddell Bryant. Magistrate Judge David G. Bernthal
                   no longer assigned to case. (ED, ilcd) (Entered: 04/29/2020)
04/29/2020         TEXT ORDER Entered by Chief Judge Sara Darrow on 4/29/20. AUSA Crystal
                   Correa is the Assistant United States Attorney assigned to this matter. (ED, ilcd)
                   (Entered: 04/29/2020)
04/29/2020   84    ++FIRST STEP ACT COMPUTATION WORK SHEET as to Freddell
                   Bryant (Brown, Thomas) (Entered: 04/29/2020)
05/12/2020         TEXT ORDER Entered by Chief Judge Sara Darrow on 5/12/20 as to Freddell
                   Bryant (1) granting 82 Motion for Leave. The Government is directed to file a
                   Response to 83 Sealed Motion by 5/26/20.(ED, ilcd) (Entered: 05/12/2020)
05/12/2020         TEXT ORDER Entered by Chief Judge Sara Darrow on 5/12/20. Attorney
                   Thomas Patton of the office of the Federal Public Defender for the Central
                   District of Illinois has been appointed to represent defendant in all further
                   proceedings in this matter. (ED, ilcd) (Entered: 05/12/2020)
05/26/2020   85    RESPONSE to Motion by USA as to Freddell Bryant (Miller, Eugene) (Entered:
                   05/26/2020)
06/16/2020   86    Letter from Defendant Bryant. (RL, ilcd) (Entered: 06/22/2020)
07/06/2021         TEXT ORDER entered by Chief Judge Sara Darrow on 7/6/21. Pursuant to the
                   framework in 18 U.S.C. § 3582(c)(1)(B) and § 404 of the First Step Act, after
                   full review of the record, careful consideration of all applicable sentencing
                   factors, and exercising its discretion, the Court declines to reduce the defendant's
                   sentence. Therefore, Defendant Bryants motion for reduction of his sentence
                   under § 404 of the First Step Act 83 is DENIED. The Court further finds based
                   on the procedural record in this case, it is not necessary to seal the motion.
                   (RES) (Entered: 07/06/2021)



                                                                                                          18
                  2:07-cr-20043-SLD # 92           Page 19 of 27



08/05/2021   87    MOTION for Extension of Time to File an Appeal as to 7/6/2021 Order on
                   Sealed Motion, by Freddell Bryant. (Attachments: # 1 envelope)(ANW)
                   (Entered: 08/05/2021)
08/05/2021   91    NOTICE OF APPEAL by Freddell Bryant regarding 7/6/2021 Text Order.
                   Document is duplicative to d/e 87 . See 1/21/2022 Text Order. (ANW) (Entered:
                   01/24/2022)
09/07/2021         TEXT ORDER Entered by Chief Judge Sara Darrow on 9/7/2021. The
                   Defendant has requested documents associated with this case. The Defendant
                   had access to all pleadings and documents during the pendency of this case. If
                   the Defendant wants copies, the Defendant may seek them from former Defense
                   counsel. (ANW) (Entered: 09/07/2021)
09/07/2021   88    Letter from Freddell Bryant. (Attachments: # 1 envelope) (ANW) (Entered:
                   09/07/2021)
09/07/2021   89    MOTION for Reconsideration regarding 7/6/2021 Text Order on Sealed Motion,
                   by Freddell Bryant. (Attachments: # 1 envelope)(ANW) (Entered: 09/07/2021)
11/12/2021   90    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Change of Plea
                   Proceedings as to Freddell Bryant held on 3/24/2009, before Judge Michael P.
                   McCuskey. Court Reporter/Transcriber JS − Area Wide, Telephone number
                   800−747−6789. Transcript purchased by: Outside Party.

                   IMPORTANT: The parties have seven (7) business days to file with the
                   Court a Notice of Intent to Request Redaction of this transcript. Within 21
                   days of the filing of the transcript, a Motion of Requested Redactions shall
                   be e−filed with the Court. Access to this motion will be restricted to the
                   Court and the attorneys of record in the case. If no such Notice and Motion
                   are filed, the transcript may be made remotely, electronically available to
                   the public, without redaction, 90 days from the date initially filed. Any
                   party needing a copy of the transcript to review for redaction purposes may
                   view the transcript at the Clerk's Office public terminal or contact the
                   Court Reporter for purchase. Counsel are strongly urged to share this
                   notice with all clients so that an informed decision about the inclusion of
                   certain materials may be made. The responsibility for redacting these
                   personal identifiers rests solely with counsel and the parties. The Clerk and
                   Court Reporter will not review each transcript for compliance with this
                   rule.

                   Transcript may be viewed at the court public terminal or purchased through the
                   Court Reporter/Transcriber before the deadline for Release of Transcript
                   Restriction. After that date it may be obtained through PACER. Redaction
                   Request due 12/3/2021. Redacted Transcript Deadline set for 12/13/2021.
                   Release of Transcript Restriction set for 2/10/2022. (BMG) (Entered:
                   11/12/2021)
01/21/2022         TEXT ORDER entered by Chief Judge Sara Darrow on January 21, 2022. On
                   July 6, 2021, the Court denied Defendant's 83 motion for a reduction of his
                   sentence under § 404 of the First Step Act. July 6, 2021 Text Order. An appeal
                   must be filed within 14 days of the order being appealed. See Fed. R. App. P.
                   4(b)(1)(A)(i). Thus, Defendant had until July 20, 2021 to file a notice of appeal.
                   No notice was filed within that time. On August 5, 2021, the Court received

                                                                                                        19
2:07-cr-20043-SLD # 92           Page 20 of 27



 Defendant's 87 notice of appeal and motion for extension of time to file a notice
 of appeal, which was dated July 30, 2021. Pursuant to Federal Rule of Appellate
 Procedure 4(b)(4), the court can extend the time to file a notice of appeal
 "[u]pon a finding of excusable neglect or good cause" but only "for a period not
 to exceed 30 days from the expiration of the time otherwise prescribed" by Rule
 4(b)(1). As the 87 motion also serves as a notice of appeal which was filed
 before the 30−day extension period would expire (August 19, 2021), the Court is
 essentially considering whether to accept a late filing of the 87 notice of appeal.
 Defendant explains that he needed additional time to file his appeal because it
 took time for the Court's July 6, 2021 Text Order to reach him via mail and for
 him to communicate with the Federal Public Defender's office via mail to
 discuss his options. 87 Mot. Extension 1. Moreover, he explains that the
 COVID−19 pandemic hindered his access to the law library, though it is unclear
 how this relates to when he could file his notice of appeal. Without more detail
 about the timing of when Defendant received notice of the Court's decision, the
 Court declines to find good cause exists to grant an extension. See United States
 v. Elliott, 149 F. App'x 489, 492 (7th Cir. 2005) (citing cases for the proposition
 that good cause applies where the extension is needed for a reason outside the
 movant's control). However, the Court finds that excusable neglect exists. A
 court should consider the following factors when determining whether excusable
 neglect exists: "the danger of prejudice to the [non−moving party], the length of
 the delay and its potential impact on judicial proceedings, the reason for the
 delay, including whether it was within the reasonable control of the movant, and
 whether the movant acted in good faith." Pioneer Inv. Servs. Co. v. Brunswick
 Assoc. Ltd. P'ship, 507 U.S. 380, 395 (1993); see United States v. Brown, 133
 F.3d 993, 996 (7th Cir. 1998) (applying Pioneer Investor Services to a case
 involving Federal Rule of Appellate Procedure 4(b)). The determination of
 whether excusable neglect exists is "at bottom an equitable one." Pioneer Inv.
 Servs., 507 U.S. at 395. Here, the factors weigh in favor of finding excusable
 neglect. The Court cannot conceive of any prejudice to the United States and
 Defendant's ten−day delay in moving for an extension of time will not
 significantly impact judicial proceedings. The reason for the delay was at least in
 part that Defendant was communicating with his counsel by mail, which is
 certainly slower than electronic communication. Moreover, mail service is
 limited to Monday through Friday at Defendant's institution. See Inmate
 Admission & Orientation Handbook 35, Fed. Bureau of Prisons,
 https://www.bop.gov/locations/institutions/clp/CLP_aohandbook.pdf (last
 updated Jan. 2013)). At least some of the delay, therefore, was not in
 Defendant's reasonable control. And lastly, there is no indication that Defendant
 is not acting in good faith. Therefore, the motion for an extension of time is
 GRANTED and the 87 notice of appeal is deemed timely filed. The Clerk is
 directed to send a copy of the 87 notice and other required documents to the
 Seventh Circuit Court of Appeals. To the extent the 87 motion requests
 appointment of counsel on appeal, the motion is DENIED. Defendant must
 make that request before the Seventh Circuit. The 89 motion for reconsideration
 is MOOT. (AK) (Entered: 01/21/2022)




                                                                                       20
Case 2:07-cr-20043-SLD
             2:07-cr-20043-SLD
                         Document
                               # 92
                                  91 Page
                                     Filed 08/05/21
                                           21 of 27 Page 1 of 2
                                                                             E-FILED
                                              Thursday,
                                              Monday, 2405January,
                                                           August, 2022
                                                                     2021 08:52:21
                                                                            02:01:46 AM
                                                                                      PM
                                                        Clerk, U.S. District Court, ILCD




                                                                                    21
Case 2:07-cr-20043-SLD
             2:07-cr-20043-SLD
                         Document
                               # 92
                                  91 Page
                                     Filed 08/05/21
                                           22 of 27 Page 2 of 2
                                                                             E-FILED
                                              Thursday, 05 August, 2021 02:01:46 PM
                                                        Clerk, U.S. District Court, ILCD




                                                                                    22
Case 2:07-cr-20043-SLD
             2:07-cr-20043-SLD
                         Document
                               # 92
                                  87 Page
                                     Filed 08/05/21
                                           23 of 27 Page 1 of 1
                                                                             E-FILED
                                              Thursday, 05 August, 2021 02:01:46 PM
                                                        Clerk, U.S. District Court, ILCD




                                                                                    23
Case 2:07-cr-20043-SLD
              2:07-cr-20043-SLD
                         Document
                                # 87-1
                                  92 Page
                                       Filed24
                                             08/05/21
                                               of 27  Page 1 of 1
                                                                              E-FILED
                                               Thursday, 05 August, 2021 02:01:46 PM
                                                         Clerk, U.S. District Court, ILCD




                                                                                     24
                          2:07-cr-20043-SLD # 92        Page 25 of 27


MIME−Version:1.0
From:ECF_Returns@ilcd.uscourts.gov
To:ECF_Notices
Bcc:
−−Case Participants: Crystal Connie Correa (caseview.ecf@usdoj.gov), Eugene L Miller
(caseview.ecf@usdoj.gov, eugene.miller@usdoj.gov, staci.klayer@usdoj.gov), Jon Gray Noll
(noll@noll−law.com), Thomas W Patton (mary_k_ardis@fd.org, thomas_patton@fd.org), Chief
Judge Sara Darrow (chambers.darrow@ilcd.uscourts.gov, sara_darrow@ilcd.uscourts.gov)
−−Non Case Participants: Probation NEFs (ilcpml_filings@ilcp.uscourts.gov), U.S. Marshals
− Urbana (marshals_urbana@ilcd.uscourts.gov)
−−No Notice Sent:

Message−Id:4124937@ilcd.uscourts.gov
Subject:Activity in Case 2:07−cr−20043−SLD USA v. Bryant Order on Sealed Motion
Content−Type: text/html

                                          U.S. District Court

                                 CENTRAL DISTRICT OF ILLINOIS

Notice of Electronic Filing


The following transaction was entered on 7/6/2021 at 12:18 PM CDT and filed on 7/6/2021

Case Name:       USA v. Bryant
Case Number:     2:07−cr−20043−SLD
Filer:
Document Number: No document attached
Docket Text:
 TEXT ORDER entered by Chief Judge Sara Darrow on 7/6/21. Pursuant to the framework in
18 U.S.C. § 3582(c)(1)(B) and § 404 of the First Step Act, after full review of the record, careful
consideration of all applicable sentencing factors, and exercising its discretion, the Court
declines to reduce the defendant's sentence. Therefore, Defendant Bryants motion for
reduction of his sentence under § 404 of the First Step Act [83] is DENIED. The Court further
finds based on the procedural record in this case, it is not necessary to seal the motion.
(RES)


2:07−cr−20043−SLD−1 Notice has been electronically mailed to:

Eugene L Miller &nbsp &nbsp eugene.miller@usdoj.gov, CaseView.ECF@usdoj.gov,
staci.klayer@usdoj.gov

Jon Gray Noll &nbsp &nbsp noll@noll−law.com

Thomas W Patton &nbsp &nbsp thomas_patton@fd.org, mary_k_ardis@fd.org

2:07−cr−20043−SLD−1 Notice has been delivered by other means to:

Crystal Connie Correa
UNITED STATES ATTORNEY'S OFFICE
318 S Sixth Street
Springfield, IL 62701−1806

                                                                                                  25
                          2:07-cr-20043-SLD # 92        Page 26 of 27


MIME−Version:1.0
From:ECF_Returns@ilcd.uscourts.gov
To:ECF_Notices
Bcc:
−−Case Participants: Crystal Connie Correa (caseview.ecf@usdoj.gov), Eugene L Miller
(caseview.ecf@usdoj.gov, eugene.miller@usdoj.gov, staci.klayer@usdoj.gov), Jon Gray Noll
(noll@noll−law.com), Thomas W Patton (mary_k_ardis@fd.org, thomas_patton@fd.org), Chief
Judge Sara Darrow (chambers.darrow@ilcd.uscourts.gov, sara_darrow@ilcd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:4269431@ilcd.uscourts.gov
Subject:Activity in Case 2:07−cr−20043−SLD USA v. Bryant Order on Motion for Extension of
Time to File Response/Reply
Content−Type: text/html

                                           U.S. District Court

                                 CENTRAL DISTRICT OF ILLINOIS

Notice of Electronic Filing


The following transaction was entered on 1/21/2022 at 1:24 PM CST and filed on 1/21/2022

Case Name:       USA v. Bryant
Case Number:     2:07−cr−20043−SLD
Filer:
Document Number: No document attached
Docket Text:
 TEXT ORDER entered by Chief Judge Sara Darrow on January 21, 2022. On July 6, 2021, the
Court denied Defendant's [83] motion for a reduction of his sentence under § 404 of the First
Step Act. July 6, 2021 Text Order. An appeal must be filed within 14 days of the order being
appealed. See Fed. R. App. P. 4(b)(1)(A)(i). Thus, Defendant had until July 20, 2021 to file a
notice of appeal. No notice was filed within that time. On August 5, 2021, the Court received
Defendant's [87] notice of appeal and motion for extension of time to file a notice of appeal,
which was dated July 30, 2021. Pursuant to Federal Rule of Appellate Procedure 4(b)(4), the
court can extend the time to file a notice of appeal "[u]pon a finding of excusable neglect or
good cause" but only "for a period not to exceed 30 days from the expiration of the time
otherwise prescribed" by Rule 4(b)(1). As the [87] motion also serves as a notice of appeal
which was filed before the 30−day extension period would expire (August 19, 2021), the
Court is essentially considering whether to accept a late filing of the [87] notice of appeal.
Defendant explains that he needed additional time to file his appeal because it took time for
the Court's July 6, 2021 Text Order to reach him via mail and for him to communicate with
the Federal Public Defender's office via mail to discuss his options. [87] Mot. Extension 1.
Moreover, he explains that the COVID−19 pandemic hindered his access to the law library,
though it is unclear how this relates to when he could file his notice of appeal. Without more
detail about the timing of when Defendant received notice of the Court's decision, the Court
declines to find good cause exists to grant an extension. See United States v. Elliott, 149 F.
App'x 489, 492 (7th Cir. 2005) (citing cases for the proposition that good cause applies where
the extension is needed for a reason outside the movant's control). However, the Court finds
that excusable neglect exists. A court should consider the following factors when
determining whether excusable neglect exists: "the danger of prejudice to the [non−moving
party], the length of the delay and its potential impact on judicial proceedings, the reason for

                                                                                               26
                       2:07-cr-20043-SLD # 92        Page 27 of 27


the delay, including whether it was within the reasonable control of the movant, and whether
the movant acted in good faith." Pioneer Inv. Servs. Co. v. Brunswick Assoc. Ltd. P'ship, 507
U.S. 380, 395 (1993); see United States v. Brown, 133 F.3d 993, 996 (7th Cir. 1998) (applying
Pioneer Investor Services to a case involving Federal Rule of Appellate Procedure 4(b)). The
determination of whether excusable neglect exists is "at bottom an equitable one." Pioneer
Inv. Servs., 507 U.S. at 395. Here, the factors weigh in favor of finding excusable neglect. The
Court cannot conceive of any prejudice to the United States and Defendant's ten−day delay
in moving for an extension of time will not significantly impact judicial proceedings. The
reason for the delay was at least in part that Defendant was communicating with his counsel
by mail, which is certainly slower than electronic communication. Moreover, mail service is
limited to Monday through Friday at Defendant's institution. See Inmate Admission &
Orientation Handbook 35, Fed. Bureau of Prisons,
https://www.bop.gov/locations/institutions/clp/CLP_aohandbook.pdf (last updated Jan.
2013)). At least some of the delay, therefore, was not in Defendant's reasonable control. And
lastly, there is no indication that Defendant is not acting in good faith. Therefore, the motion
for an extension of time is GRANTED and the [87] notice of appeal is deemed timely filed.
The Clerk is directed to send a copy of the [87] notice and other required documents to the
Seventh Circuit Court of Appeals. To the extent the [87] motion requests appointment of
counsel on appeal, the motion is DENIED. Defendant must make that request before the
Seventh Circuit. The [89] motion for reconsideration is MOOT. (AK)


2:07−cr−20043−SLD−1 Notice has been electronically mailed to:

Eugene L Miller &nbsp &nbsp eugene.miller@usdoj.gov, CaseView.ECF@usdoj.gov,
staci.klayer@usdoj.gov

Jon Gray Noll &nbsp &nbsp noll@noll−law.com

Thomas W Patton &nbsp &nbsp thomas_patton@fd.org, mary_k_ardis@fd.org

2:07−cr−20043−SLD−1 Notice has been delivered by other means to:

Crystal Connie Correa
UNITED STATES ATTORNEY'S OFFICE
318 S Sixth Street
Springfield, IL 62701−1806




                                                                                               27
